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12
                                     UNITED STATES DISTRICT COURT
13                                 NORTHERN DISTRICT OF CALIFORNIA

14    Innovation Law Lab, et al.,                       CASE NO.: 3:19-CV-00807-RS

15                   Plaintiffs,                        DECLARATION OF JUDY RABINOVITZ
                                                        IN SUPPORT OF PLAINTIFF’S
16                                                      ADMINISTRATIVE MOTION TO SET A
                     v.                                 CASE MANAGEMENT CONFERENCE
17
      Alejandro Mayorkas, et al.,
18
                     Defendants.
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        Case 3:19-cv-00807-RS Document 146-2 Filed 11/10/22 Page 2 of 4



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         Case 3:19-cv-00807-RS Document 146-2 Filed 11/10/22 Page 3 of 4




 1                                    Declaration of Judy Rabinovitz

 2      1. I am an attorney for Plaintiffs in this case. I am licensed to practice law in New York and

 3         admitted pro hac vice in this case.

 4      2. The parties have been actively engaged in efforts to settle this case for more than a year.

 5      3. While meaningful progress has been made, the process has taken longer than anticipated, with

 6         often significant delays in the time it has taken Defendants to respond to Plaintiffs’ settlement

 7         communications.

 8      4. On October 11, 2022, we sent counsel for the Defendants a response to their latest settlement

 9         proposal, dated September 14, 2022. We indicated that Defendants’ proposal was largely

10         acceptable to Plaintiffs with the exception of two issues which required further clarification.

11         In order to avoid further delays, and in light of the urgency of providing relief to individual

12         plaintiffs, we asked for a meeting with the government decision makers to resolve those

13         remaining issues, to take place within two weeks.

14      5. Counsel for Defendants, Erez Reuvini, communicated to me that Defendants were unwilling

15         to schedule such a meeting until they had prepared a response to our latest settlement

16         communication, but that such a response was forthcoming. However, to date no response has

17         been provided, nor have Defendants committed to a timeline for providing one.

18      6. During a telephone meeting with Mr. Reuvini on November 3, 2022, I therefore proposed the

19         possibility of requesting a case management conference (“CMC”) to explore the possibility of

20         referral to mediation. And on November 8, 2022, I sought by e-mail to Mr. Reuvini

21         Defendants’ position on an administrative motion to set a CMC for November 17, 2022.

22      7. On November 9, 2022, Mr. Reuvini responded that Defendants oppose a motion setting a CMC

23         for this purpose.

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25         I declare under penalty of perjury that the foregoing is true. Executed on November 10, 2022

26   in New York, NY.

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                                      RABINOVITZ DECLARATION
                                      CASE NO.: 3:19-CV-00807-RS
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     Dated: November 10, 2022                Respectfully submitted,
 1
                                             /s/ Judy Rabinovitz
 2                                           Judy Rabinovitz
                                             Attorney for Plaintiffs
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                                RABINOVITZ DECLARATION
                                CASE NO.: 3:19-CV-00807-RS
